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14 SUTTER VALLEY MEDICAL FOUNDATION
15
                               UNITED STATES DISTRICT COURT
16
                              EASTERN DISTRICT OF CALIFORNIA
17
18
   KRISTEENA TINNIN, on behalf of herself and       Case No.: 1:20-CV-00482-DJC-SCR
19 all others similarly situated,
                                                    STIPULATION OF DISMISSAL [FRCP
20              Plaintiff,                          41(A)] AND [PROPOSED] ORDER
21        vs.
                                                    Judge: Honorable Daniel J. Calabretta
22 SUTTER VALLEY MEDICAL
   FOUNDATION, and DOES 1 through 20,
23 inclusive,
24              Defendants.
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                                                )
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           STIPULATION OF DISMISSAL [FRCP 41(A)] AND [PROPOSED] ORDER
       Case 1:20-cv-00482-DJC-SCR Document 87 Filed 11/14/24 Page 2 of 3


 1                                            STIPULATION
 2          Pursuant to the Parties’ Settlement Agreement, Plaintiff Kristeena Tinnin and Defendant
 3 Sutter Valley Medical Foundation hereby stipulate under Federal Rule of Civil Procedure 41(a)(1)(ii)

 4 that this action be dismissed with prejudice as to all claims, causes of action, and parties, with each
 5 party bearing that party’s own attorneys’ fees and costs.
 6          IT IS SO STIPULATED.

 7
     Dated: November 14, 2024                                    MALLISON & MARTINEZ
 8
 9
                                                           By:
10                                                               Stan Mallison
                                                                 Hector Martinez
11                                                               Dan Keller
                                                                 Attorneys for Plaintiff
12
13 Dated: November 14, 2024                                      GBG LLP
14
15                                                         By:
                                                                 Thomas E. Geidt
16                                                               Teresa W. Ghali
                                                                 Attorneys for Defendant
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             STIPULATION OF DISMISSAL [FRCP 41(A)] AND [PROPOSED] ORDER
       Case 1:20-cv-00482-DJC-SCR Document 87 Filed 11/14/24 Page 3 of 3


 1                                         [PROPOSED] ORDER
 2          Pursuant to the stipulation of the parties under Federal Rule of Civil Procedure 41(a)(1)(ii),
 3 IT IS HEREBY ORDERED that this action be, and hereby is, DISMISSED WITH PREJUDICE

 4 as to all claims, causes of action, and parties, with each party bearing that party’s own attorneys’ fees
 5 and costs. The Clerk is directed to close the file.
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 7 Date:____________________                                   ____________________________
                                                               HON. DANIEL J. CALABRETTA
 8                                                             UNITED STATES DISTRICT JUDGE
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              STIPULATION OF DISMISSAL [FRCP 41(A)] AND [PROPOSED] ORDER
